Case 5:24-cv-00181-BJB-LLK   Document 6-1   Filed 01/13/25   Page 1 of 14 PageID #:
                                      76
Case 5:24-cv-00181-BJB-LLK   Document 6-1   Filed 01/13/25   Page 2 of 14 PageID #:
                                      77
Case 5:24-cv-00181-BJB-LLK   Document 6-1   Filed 01/13/25   Page 3 of 14 PageID #:
                                      78
Case 5:24-cv-00181-BJB-LLK   Document 6-1   Filed 01/13/25   Page 4 of 14 PageID #:
                                      79
Case 5:24-cv-00181-BJB-LLK   Document 6-1   Filed 01/13/25   Page 5 of 14 PageID #:
                                      80
Case 5:24-cv-00181-BJB-LLK   Document 6-1   Filed 01/13/25   Page 6 of 14 PageID #:
                                      81
Case 5:24-cv-00181-BJB-LLK   Document 6-1   Filed 01/13/25   Page 7 of 14 PageID #:
                                      82
Case 5:24-cv-00181-BJB-LLK   Document 6-1   Filed 01/13/25   Page 8 of 14 PageID #:
                                      83
Case 5:24-cv-00181-BJB-LLK   Document 6-1   Filed 01/13/25   Page 9 of 14 PageID #:
                                      84
Case 5:24-cv-00181-BJB-LLK   Document 6-1   Filed 01/13/25   Page 10 of 14 PageID
                                    #: 85
Case 5:24-cv-00181-BJB-LLK   Document 6-1   Filed 01/13/25   Page 11 of 14 PageID
                                    #: 86
Case 5:24-cv-00181-BJB-LLK   Document 6-1   Filed 01/13/25   Page 12 of 14 PageID
                                    #: 87
Case 5:24-cv-00181-BJB-LLK   Document 6-1   Filed 01/13/25   Page 13 of 14 PageID
                                    #: 88
Case 5:24-cv-00181-BJB-LLK   Document 6-1   Filed 01/13/25   Page 14 of 14 PageID
                                    #: 89
